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                IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                            TALLAHASSEE DIVISION




UNITED STATES OF AMERICA,

                    Plaintiff,

v.                                                                  4:92cr4013-WS

MICHAEL MORGAN,                                                     4:09cv408-WS

                    Defendant.



                  ORDER ADOPTING THE MAGISTRATE JUDGE’S
                      REPORT AND RECOMMENDATION

       Before the court is the magistrate judge's report and recommendation (doc.

1929) docketed December 23, 2009. The magistrate judge recommends that the

defendant's "Appeal Motion Pursuant [to] Section 3742" be summarily dismissed as an

attempt to file an unauthorized second or successive section 2255 motion. Although the

defendant was granted an extension of time—until February 5, 2010—to file objections

to the report and recommendation, no objections have been filed.

       Upon review of the record, this court has determined that the magistrate judge’s

report and recommendation should be adopted.

       Accordingly, it is ORDERED:

       1. The magistrate judge's report and recommendation (doc. 1929) is hereby

ADOPTED and incorporated by reference into this order.
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       2. The defendant's "Appeal Motion Pursuant [to] Section 3742" (doc. 1918) is

hereby summarily DISMISSED.

       3. The clerk shall enter judgment accordingly and shall close Case No.

4:09cv408-WS.

       DONE AND ORDERED this          18th      day of      February      , 2010.




                                        s/ William Stafford
                                        WILLIAM STAFFORD
                                        SENIOR UNITED STATES DISTRICT JUDGE




Case No. 4:92cr4079-WS
